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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                           Case No.: 23-80101-CR-CANNON/REINHART

  UNITED STATES OF AMERICA

  v.

  DONALD J. TRUMP and
  WALTINE NAUTA,

          Defendants.
                                          /

                      ORDER GRANTING MOTION TO APPEAR
             PRO HAC VICE, CONSENT TO DESIGNATION AND REQUEST TO
            ELECTRONICALLY RECEIVE NOTICES OF ELECTRONIC FILING

          THIS CAUSE having come before the Court on the Motion to Appear Pro Hac Vice for

  Todd Blanche, Consent to Designation, and Request to Electronically Receive Notices of Electronic

  Filing (the “Motion”), pursuant to the Rules Governing the Admission, Practice, Peer Review, and

  Discipline of Attorneys in the United States District Court for the Southern District of Florida and

  Section 2B of the CM/ECF Administrative Procedures. This Court having considered the motion

  and all other relevant factors, it is hereby

          ORDERED AND ADJUDGED that:

          The Motion is GRANTED.          Todd Blanche may appear and participate in this action on

  behalf of Donald J. Trump. The Clerk shall provide electronic notification of all electronic filings

  to Todd Blanche, at toddblanche@blanchelaw.com.

          DONE AND ORDERED in Chambers at Fort Pierce, Florida, this ___day of June, 2023.


                                                                            Hon. Aileen M. Cannon
                                                                         United States District Judge

  Copies furnished to: All Counsel of Record
